                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


LIBERTARIAN PARTY OF PENNSYLVANIA, et al.,

Plaintiffs,

v.                                                               Case No. 5:20-cv-2299


TOM WOLF, in his official capacity as Governor
of Pennsylvania, et al.,

Defendants.

                       PLAINTIFFS' RESPONSE IN OPPOSITION TO
                          DEFENDANTS' MOTION TO DISMISS

                                               Facts

       The COVID-19 pandemic has given rise to an extraordinary set of circumstances in

Pennsylvania and nationwide. In an effort to contain the virus and protect the public health, the

Commonwealth of Pennsylvania has implemented several emergency measures that, although

perhaps reasonable in light of the public health crisis, make it impossible for Plaintiffs and other

citizens to comply with the statutory procedures they must follow to participate in Pennsylvania’s

electoral processes.

       In particular, as voters, petition circulators, candidates and political bodies in Pennsylvania,

Plaintiffs are required by law to obtain voters’ signatures on nomination papers to qualify their

respective candidates for placement on Pennsylvania’s November 3, 2020 general election ballot.

Under the emergency measures now in place, however, Plaintiffs cannot lawfully comply with

these requirements. On March 6, 2020, Governor Wolf proclaimed the existence of a disaster

emergency throughout the Commonwealth pursuant to 35 Pa. C.S. § 7301(c). See “Proclamation

of       Disaster       Emergency”           (March         6,        2020),        available        at

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https://www.governor.pa.gov/wpcontent/uploads/2020/03/20200306-COVID19-Digital-

Proclamation.pdf (accessed May 13, 2020).

       Thereafter, Governor Wolf issued a number of executive orders that imposed sweeping

restrictions on virtually every aspect of citizens’ daily life and activities. By an order entered on

March 19, 2020, which took effect on March 21, 2020, Governor Wolf required the closure of all

“non-life sustaining businesses” – including “political” organizations – and provided for

“enforcement actions” to be taken against businesses that fail to comply. See “Order of the

Governor of Pennsylvania Regarding the Closure of All Businesses that are not Life Sustaining”

(March 19, 2020).

       On March 23, 2020, Governor Wolf issued a “stay at home” order effective until April 6,

2020, which required that “all individuals” residing in several counties across the Commonwealth

“stay at home except as needed to access, support, or provide life sustaining business, emergency,

or government services,” and that individuals who leave their homes “must employ social

distancing practices as defined by the Centers for Disease Control and Prevention.”

       The order further provided that “gatherings of individuals outside of the home are generally

prohibited except as may be required to access, support or provide life sustaining services.” See

“Order of the Governor of the Commonwealth of Pennsylvania for Individuals to Stay at Home”

(March 23, 2020). Several subsequent orders applied the terms of the Governor’s stay at home

order to several more counties. Then, on April 1, 2020, Governor Wolf entered a statewide “stay

at home” order, to remain in effect until April 30, 2020. See “Order of the Governor of the

Commonwealth of Pennsylvania for Individuals to Stay at Home” (April 1, 2020).

       On April 22, 2020, Governor Wolf instituted a process to “reopen Pennsylvania,” to

commence on May 8, 2020, pursuant to which each county in the Commonwealth would be



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designated as in a “red,” “yellow” or “green” phase. Counties in red phase remain under the stay

at home order until at least June 4, 2020; in yellow phase counties, the stay at home order is lifted

but “large gatherings of more than 25” remain prohibited, indoor recreation, personal care facilities

and all entertainment facilities must remain closed, and restaurants and bars are limited to carry-

out only service.

       Further, social distancing – maintaining at least six feet from other individuals – is required

in yellow phase counties. As of May 19, 2020, when Plaintiffs filed their motion for preliminary

relief (ECF No. 3), all counties in Pennsylvania were designated as red phase or yellow phase. At

present, approximately half the counties in Pennsylvania – comprising 70.533 percent of the

population – remain in yellow phase. (Dec. of D. Miller ¶ 6 (attached as Exhibit A).) Petitioning

to qualify candidates and Political Bodies for Pennsylvania’s November 3, 2020 general election

ballot is not defined as an “essential” activity under Governor Wolf’s stay at home orders.

Moreover, even in yellow phase counties, mandatory social distancing means that collecting

signatures by hand remains a prohibited activity.

       Consequently, the public health emergency caused by COVID-19 and the various

executive orders issued by Governor Wolf made it both unlawful and practically impossible to

gather signatures for nomination papers throughout Pennsylvania from March 23, 2020 at least

through May 19, 2020, and that remains true throughout half of Pennsylvania (comprising 70.533

percent of the population) to the present date. (Dec. of D. Miller.) As the Governor’s website

cautions, law enforcement is authorized to enforce the Governor’s orders, and “citations are

possible for violators….” Even in green phase counties, Pennsylvanians are instructed to practice

social distancing by staying at home as much as possible, avoiding public spaces, avoiding large

gatherings, and maintaining six feet of distance between other people. See Pennsylvania Dept. of



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Health,            Help           Stop           the           Spread,           available            at

https://www.health.pa.gov/topics/disease/coronavirus/Pages/Stop-the-Spread.aspx (accessed June

12, 2020).

          Given the severity of the COVID-19 pandemic and its impact on Pennsylvania, it remains

uncertain whether petitioning will become lawful or feasible during any part of the statutorily-

mandated signature collection period prior to the August 3, 2020 deadline for Political Bodies to

file nomination papers. And even if the legal prohibitions are eventually lifted throughout the state

– including mandatory social distancing requirements – petitioning will remain a practical

impossibility due to the unacceptable risk to the public health posed by personal contact with large

numbers of people during a pandemic.

          On March 30, 2020 and March 31, 2020, respectively, Plaintiffs GPPA and LPPA sent

Governor Wolf and Secretary Boockvar urgent written requests for relief from Pennsylvania’s

petitioning requirements as applied to them in the 2020 election cycle. (Verified Complaint Ex. B,

Ex. C.) Plaintiff CPPA did the same on April 20, 2020. (Verified Complaint Ex. D.) Receiving no

response, on April 29, 2020 Plaintiff LPPA sent Governor Wolf and Secretary Boockvar another

letter reiterating its urgent request for relief, and Plaintiff GPPA did so on April 30, 2020. (Verified

Complaint Ex. E, Ex. F.) On May 4, 2020 – five weeks after initially making their urgent requests

– Plaintiffs LPPA and GPPA received a letter from Timothy Gates, Chief Counsel of the

Governor’s Office of General Counsel, advising that his office is “currently reviewing this matter,”

and that “we will be in touch soon.” (Verified Complaint Ex. G.)

          To date, Plaintiffs have received no further response from Defendants. Meanwhile, the

clock is ticking and the August 3, 2020 deadline for Plaintiffs to file nomination papers rapidly

approaches. Petitioning remains unlawful in approximately half of Pennsylvania, where a large



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majority of the population resides, and there is no reason to believe it will become legal – much

less safe – anytime soon. Plaintiffs therefore urgently need the relief requested herein, to protect

their speech, petitioning, voting, associational and equal protection rights as guaranteed by the

First and Fourteenth Amendments. In the absence of such relief, Plaintiffs will suffer irreparable

harm, because they are prohibited from petitioning and their respective candidates will be excluded

from Pennsylvania’s 2020 general election ballot.

       On May 15, 2020, Plaintiffs filed this action. See Complaint, R.1. On June 5, 2020,

Defendants tendered their Motion to Dismiss, R.23.

                                            Argument

I.     The Governor is Not Entitled to Eleventh Amendment Immunity.

       Defendants assert that the Governor is entitled to Eleventh Amendment immunity. This is

incorrect. The Governor is sued in his official capacity for prospective (injunctive) relief under §

1983 and the legal fiction created by Ex parte Young, 209 U.S. 123 (1908). "[A] person seeking

purely prospective relief against state officials for ongoing violations of federal law may sue under

the “legal fiction” of Ex parte Young, despite the text of the Eleventh Amendment." Koslow v.

Commonwealth of Pennsylvania, 302 F.3d 161, 168 (3rd Cir. 2002) (citation omitted).

II.    There Exists a Live Case or Controversy Under Article III.

       Defendants assert that there exists no case or controversy – that Plaintiffs' injury is

“speculative” because Plaintiffs might miraculously make the deadline after all. Defendants are

incorrect. As a threshold matter, Defendants disregard the uncontested fact that it has been both

unlawful and practically impossible for Plaintiffs to engage in petitioning ever since Governor

Wolf entered his Proclamation of Disaster in early March and followed it with several executive




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orders that, taken together, ground civil society to a halt in Pennsylvania. Plaintiffs have alleged a

concrete injury based on that fact alone, and they are entitled to relief from it.

       To satisfy Article III, a plaintiff must "demonstrate that he has suffered 'injury in fact,' that

the injury is 'fairly traceable' to the actions of the defendant, and that the injury will likely

be redressed by a favorable decision." Bennett v. Spear, 520 U.S. 154, 162 (1997) (citations

omitted). Plaintiffs here satisfy this standard. They challenge the combination of Pennsylvania's

ballot access requirements, the Governor's emergency orders, and the COVID-19 crisis as

effectively prohibiting them from petitioning, which is the only procedure that Pennsylvania

provides for them to qualify for the ballot, and thus threatening to preclude them from obtaining

ballot access in 2020. The First Amendment requires that a workable procedure exist. None does.

The Court can redress that violation with a favorable decision.

       The past, present and ongoing harm that Plaintiffs allege here is always sufficient to support

standing. For instance, in Dearth v. Holder, 641 F.3d 499, 502 (D.C. Cir. 2011), the plaintiff's

inability to obtain a firearms permit constituted an "ongoing injury" sufficient to confer standing

on him to challenge the constitutionality of the local law. The same is true here. Every day that

Plaintiffs’ right to petition is infringed by an unlawful and unworkable procedure adds to their

ongoing injury.

       Contrary to Defendants’ assertion, in the face of the COVID-19 pandemic no Court has

required that plaintiffs demonstrate to a certainty that they will be excluded from the ballot before

recognizing their standing to seek relief from state petitioning requirements. Instead, Courts have

repeatedly ordered relief under the precise same facts as presented here. Courts across the country

have recognized that people simply cannot collect signatures in-person in a lawful or safe way

during the COVID-19 crisis. They have therefore routinely and uniformly extended petitioning



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relief to candidates in various forms, by reducing the numbers of signatures required, extending

filing deadlines, and allowing remote or electronic petitioning, among other remedies. See

Libertarian Party of Illinois v. Pritzker, 2020 WL 1951687 (N.D. Ill., Apr. 23, 2020); Miller v.

Thurston, No. 5:20-cv-5070 (W.D. Ark., May 25, 2020); Fair Maps Nevada v. Cegavske, No.

3:20-cv-271 (D. Nev., May 29, 2020). More litigation continues to be filed each day in an effort

to win relief from governors’ orders prohibiting or infringing citizens’ right to petition. See, e.g,

Alaska Libertarian Party v. Fenumiai, No. 3:20-cv-127 (D. Ak., June 3, 2020); Maryland Green

Party v. Hogan, 1:20-cv-1253 (D. Md., May 19, 2020).

        Pennsylvania's laws and orders substantially threaten Plaintiffs' path to the ballot. This by

itself is sufficient to support standing, as explained by the Supreme Court in Susan B. Anthony List

v. Driehaus, 573 U.S. 149 (2014). There, the First Amendment challenge was to Ohio's false

campaign speech law and enforcement by OEC. The Supreme Court observed that the challengers

"have alleged 'an intention to engage in a course of conduct arguably affected with a constitutional

interest.'” Id. at 161 (citation omitted). Next, their "intended future conduct is 'arguably ...

proscribed by [the] statute' they wish to challenge. Id. at 162 (citation omitted). It therefore

followed that "[a]s long as [they] continue to engage in comparable electoral speech …, that speech

will remain arguably proscribed by Ohio's false statement statute," id. at 163, and that "the threat

of future enforcement of the false statement statute is substantial." Id. at 164. In addition, "there is

a history of past enforcement here …." Id. at 164. The challengers thus possessed standing to press

their pre-enforcement claim.

        Plaintiffs' challenge satisfies Article III for the same reasons. Indeed, it is an a fortiori case,

since Pennsylvania's laws and orders do not merely threaten Plaintiffs' First Amendment rights,

they are presently impeding their exercise. That Plaintiffs might somehow, some way still achieve



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ballot access is irrelevant for purposes of Article III standing.          The question is whether

Pennsylvania's laws and order substantially threaten Plaintiffs' ability to do so. There is no doubt

about that in the present case, since they are presently interfering with Plaintiffs' ability to access

the ballot.

III.    Plaintiffs Have Properly Alleged a Violation of Their First and Fourteenth
        Amendment Rights.

        Defendants assert that Plaintiffs have failed to allege a constitutional violation. In support,

they cite Friends of Danny DeVito v. Wolf, 2020 WL 1847100 (Pa., Apr. 13, 2020), which ruled

that the Governor has authority under Pennsylvania law to issue his emergency orders closing non-

essential businesses and upholding the enforcement of this restriction against a candidate's

campaign headquarters. That case hardly supports Defendants' assertion that Plaintiffs do not have

a right to engage in petitioning to qualify for Pennsylvania’s general election ballot. It says no

such thing, nor could it. If it did, then it would mean that the Governor has the authority to simply

terminate democracy and make himself a dictator. The thought is specious.

        As Plaintiffs have explained, for much of the statutorily prescribed petitioning period,

Plaintiffs had no lawful procedure by which they may qualify their candidates for Pennsylvania’s

November 3, 2020 general election ballot. Under Pennsylvania law, Plaintiffs are required to

obtain signatures on nomination papers to qualify for the ballot, yet the Governor’s orders

prohibited them from engaging in petitioning. That remains true throughout half the

Commonwealth, where the large majority of Pennsylvanians reside.

        Based on these facts alone, Plaintiffs have alleged a violation of their First Amendment

rights. “Petition circulation … is ‘core political speech,’ because it involves ‘interactive

communication concerning political change.’” Buckley v. American Constitutional Law

Foundation, Inc., 525 U.S. 182, 186 (1999) (quoting Meyer v. Grant, 486 U.S. 414, 422 (1988)).

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First Amendment protection is therefore “at its zenith” with respect to Plaintiffs’ right to circulate

petitions in support of their respective candidates. Id. Consequently, each day that Pennsylvania

law prohibits Plaintiffs from engaging in petitioning, or infringes their right to do so, causes

irreparable harm to Plaintiffs’ core First Amendment rights. See Buckley, 525 U.S. at 186; Elrod

v. Burns, 427 U.S. 347, 373 (1976) (“the loss of First Amendment freedoms, for even minimal

periods of time, unquestionably constitutes irreparable injury”).

       Plaintiffs will suffer further injury to their First Amendment rights in the absence of relief

because their candidates will be excluded from Pennsylvania’s November 3, 2020 general election

ballot. “One of the most basic goals of a political organization … is to have its candidates listed

on the general election ballot.” Constitution Party of Pa. v. Aichele, 757 F.3d 347, 351 (3rd Cir.

2014). Consequently, a statutory scheme that prevents or threatens to prevent a political party from

doing so infringes upon “a fundamental First Amendment right to political participation — not an

inconvenience or burden, but wholesale disenfranchisement.” Id. at 364 n.21.

       The exclusion of Plaintiffs’ candidates from Pennsylvania’s November 3, 2020 general

election ballot will cause still further injury to Plaintiffs’ voting and associational rights. As the

Seventh Circuit has explained (citing Supreme Court precedent):

       the impact of candidate eligibility requirements on voters implicates basic constitutional
       rights. The exclusion of candidates . . . burdens voters’ freedom of association, because an
       election campaign is an effective platform for the expression of views on the issues of the
       day, and a candidate serves as a rallying point for like-minded citizens. Also, because
       voters can assert their preferences only through candidates or parties or both, . . . the right
       to vote is heavily burdened if that vote may be cast only for major-party candidates at a
       time when other parties or other candidates are clamoring for a place on the ballot.

Lee v. Keith, 463 F.3d 763, 768 (7th Cir. 2006) (citations, quotation marks and brackets omitted).

       Accordingly, Plaintiffs have properly alleged a violation of their petitioning, associational,

speech and voting rights, all of which are protected by the First Amendment.



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        Defendants assert in passing that Plaintiffs have failed to allege the “purposeful

discrimination necessary to establish an equal protection violation.” (Def. Mot. to Dismiss (ECF

No. 23-2) at 19 (citing McClesky v. Kemp, 481 U.S. 279, 292 (1987).) Defendants are incorrect.

Mclesky involved a criminal defendant’s claim that Georgia’s capital punishment statute violated

the Equal Protection Clause. See McClesky, 481 U.S. at 291. The Court’s analysis thus relied on

the “basic principle” that a “criminal defendant” who alleges an equal protection violation in the

sentencing context must prove “the existence of purposeful discrimination,” and that “the

purposeful discrimination had a discriminatory effect on him.” Id. at 292 (citations and quotation

marks omitted). But this is not a criminal case and the “basic principle” the Court relied upon in

McClesky has no application here.

        The Third Circuit has expressly concluded that “the Anderson test is the proper method for

analyzing” equal protection claims asserted in ballot access cases. Rogers v. Corbett, 468 F.3d

188, 193 (3rd Cir. 2006) (citing Anderson v. Celebrezze, 460 U.S. 780 (1983)). Anderson does not

require an allegation of “purposeful discrimination” to allege a violation of the Equal Protection

Clause. See Anderson, 460 U.S. at 789 (explaining the “analytical process” by which courts must

review the constitutionality of election laws). Consequently, Defendants’ reliance on McClesky is

misplaced.

        Plaintiffs properly allege that Pennsylvania law violates their right to equal protection on

the ground that it guarantees ballot access to major party nominees by virtue of a taxpayer-funded

primary election procedure, while failing to provide Plaintiffs with a lawful procedure by which

they may qualify for the ballot. Pennsylvania law therefore imposes an unequal burden on

Plaintiffs. Plaintiffs thus state a claim for the violation of their right to equal protection.

IV.     The Governor Is Not Entitled to Dismissal Based on His Amended Orders.



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         Defendants claim that the Governor should now be dismissed because his emergency

orders have all been lifted. Defendants are factually and legally incorrect for a number of reasons.

         First, as a factual matter, the Governor's emergencies restrictions have not been completely

lifted, even for counties that are now in the Green Phase. Consequently, the Governor is

responsible for the lost signature collection time experienced by Plaintiffs and his continuing

orders remain responsible for Plaintiffs' irreparable injuries. As late as June 5, 2020, the Governor

stated on his official web page: "As the situation stabilizes, we are planning a measured and

strategic approach to allowing Pennsylvanians to return to work safely to prevent a resurgence of

the virus." Governor Tom Wolf, Process to Reopen Pennsylvania, June 5, 2020. 1 "Pennsylvania

plans to proceed with returning to work cautiously," he added. Id. "Broad reopenings or

reopenings that are not structured around ongoing social distancing, universal masking, or other

public health guidance would likely result in a spike of cases and new stay-at-home and closure

orders." Id.

         Moreover, the fact remains that half the counties in Pennsylvania, comprising 70.533

percent of the population, are designated as yellow phase. Thus, Plaintiffs are prohibited from

engaging in petitioning to solicit signatures from a large majority of the Commonwealth’s

population. And even in counties designated as green phase, many restrictions remain in place. As

the Governor explained on June 5, 2020, "this phase will facilitate a return to a 'new normal,' [and]

it will be equally important to continue to monitor public health indicators and adjust orders and

restrictions as necessary to ensure the spread of disease remains at a minimum." Id. There will be

no return under the Governor's orders to the old normal. Remaining restrictions under the green



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    https://www.governor.pa.gov/process-to-reopen-pennsylvania/.


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phase include prohibiting gatherings of more than 250 people, limiting restaurants and bars to 50%

capacities, restricting shopping malls and other indoor places to 50% capacities, and encouraging

people to stay home, avoid large public gatherings, and to practice social distancing by maintaining

six feet of distance from other people. Id.

       Second, the Governor's past and present emergency orders are "entwined" with

Pennsylvania's ballot access laws and in combination with those ballot access laws have placed a

severe burden on Plaintiffs' First Amendment rights. As the Supreme Court stated in Brentwood

Academy v. Tennessee Secondary State Athletic Association, 531 U.S. 288, 298 (2001), "the

pervasive entwinement of public institutions and public officials in its composition and workings

… [means] there is no substantial reason to claim unfairness in applying constitutional standards

to it." Even private actors that are "controlled by the state, perform[] a function delegated by the

state, or [are] entwined with government policies or management," Leshko v. Servis, 423 F.3d

337, 340 (3d Cir. 2005), are subject to suit under the Constitution and 42 U.S.C. § 1983. The same

is necessarily true for government officials who are entwined with government policies and their

management, as here.

       Third, as Defendants concede, the Governor had the authority under Pennsylvania law to

put these emergency orders in place. Friends of Danny DeVito v. Wolf, 2020 WL 1847100 (Pa.,

Apr. 13, 2020) (holding that Governor had authority to issue emergency orders). He therefore has

the authority under Pennsylvania law to alter them and to ameliorate the burdens they have caused

to Plaintiffs’ First Amendment rights. The Governor therefore remains a proper defendant in this

matter to ensure that appropriate relief may be awarded to redress Plaintiffs' irreparable injury.

       Fourth, Plaintiffs continue to suffer irreparable harm because of the Governor's emergency

orders and Pennsylvania's ballot access laws. Even assuming that all eventually returns to pre-



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pandemic normal, Plaintiffs still lost months of circulating time during the most important and

productive part of the statutory petitioning period. This loss severely burdens and irreparably

damages their First Amendment rights.

          Fifth, even were the Governor's orders someday completely lifted, Pennsylvania returned

to the pre-pandemic status quo, and Plaintiffs were left without any continuing burden on their

First Amendment rights, this would still not defeat Plaintiffs' suit against the Governor. "It is well

settled that 'a defendant's voluntary cessation of a challenged practice does not deprive a federal

court of its power to determine the legality of the practice.'” Friends of the Earth, Inc. v. Laidlaw

Environmental Services, 528 U.S. 167, 189 (2000) (citation omitted). Only where "subsequent

events made it absolutely clear that the allegedly wrongful behavior could not reasonably be

expected to recur,” id. (citation omitted), will a case be dismissed. The defendants, meanwhile, are

under a “'heavy burden of persua[ding]' the court that the challenged conduct cannot reasonably

be expected to start up again …." Id. See also United States v. Government of the Virgin Islands,

363 F.3d 276, 285 (3d Cir. 2004) (same); Diamond v. Pennsylvania State Educational Ass'n, 399

F. Supp.3d 361, 385 (W.D. Pa. 2019) (same).

          Here, as the Governor concedes on his June 5, 2020 web page, nothing is certain. Even

assuming that the Commonwealth may someday return to the pre-pandemic normal – which it has

yet to do – there can be no guarantee that the Governor will not once again have to implement

emergency orders over the course of the summer. Consequently, the Governor cannot meet his

"heavy burden" of persuading the Court that his orders "cannot reasonably be expected to start up

again."

V.        Plaintiffs' Injury Was Not Caused By this Court.




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       Defendants assert that there is no state action in this case because the number of signatures

now required under Pennsylvania law was modified by this Court. Defendants ignore, however,

the fact that it is Pennsylvania law that requires signatures in the first instance, it is the Governor

who has put in place emergency shelter orders, and most important it is Pennsylvania law that sets

the deadline and dictates how those signatures are collected. Plaintiffs' challenge in this case is

that the combination of these statutory requirements, together with the COVID-19 crisis, makes it

virtually impossible for Plaintiffs to obtain ballot access. That this Court previously granted

Plaintiffs relief from the unconstitutional application of Pennsylvania law did not cause Plaintiffs’

injury here; rather the combination of the COVID-19 crisis, the Governor's orders, and Defendants’

continued enforcement of the challenged statutory provisions did.

       Even assuming that this Court's prior order lowering Pennsylvania's signature requirement

were a factor in this case, it would not absolve Pennsylvania officials of responsibility under the

First Amendment and § 1983 for their own actions. "It is certainly true that federal oversight of a

state-administered federal program will not automatically preclude a finding that a state employee

acted under color of state law." Rosas v. Brock, 826 F.2d 1004, 1007 (11th Cir. 1987). Only

"[w]here the challenged action by state employees is nothing more than application of federal

rules" will the "the federal involvement [be deemed] so pervasive that the actions are taken under

color of federal and not state law." Id. See also Martin v. Heckler, 773 F.2d 1145, 1154 (11th Cir.

1985) (same); Crayton v. Shalala, 1995 WL 605599, *6 (N.D. Ala. 1995) (same).

       The question of which predominates where both federal and state rules are at play in a

given situation "depends upon the authority under which the action that causes the constitutional

harm is taken." Jarno v. Lewis, 256 F. Supp.2d 499, 506 (E.D. Va. 2003). "When the violation is

the joint product of the exercise of a State power and of a non-State power then the test under the



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Fourteenth Amendment and § 1983 is whether the state or its officials played a ‘significant’ role

in the result." Kletschka v. Driver, 411 F.2d 436, 448 (2d Cir. 1969).

        Here there can be no doubt that Defendants have played a "significant role in the result."

Defendants continue to enforce the challenged statutory provisions, which require that Plaintiffs

obtain signatures by hand on nomination papers and file them by the August 3, 2020 deadline.

Further, the Governor has issued emergency shelter orders that prohibit Plaintiffs from engaging

in petitioning or substantially infringe Plaintiffs’ right to do so, thus making it practically

impossible for Plaintiffs to qualify for the ballot, notwithstanding the relief that this Court

previously granted. That this Court granted such relief cannot relieve Defendants of their

responsibility now. They are still acting under color of Pennsylvania law and causing irreparable

injury to Plaintiffs.

                                           Conclusion

        Defendants' Motion to Dismiss should be DENIED.

                                                     Respectfully submitted,

                                                     s/ Drew Gray Miller

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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 12, 2020, I filed the foregoing document through the Court’s

CM/ECF system, which will effect service upon all counsel of record.


                                                    /s/Drew Miller
                                                    Drew Miller




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